Case: 4:10-cv-00563-RWS Doc. #: 156 Filed: 08/17/11 Page: 1 of 4 PageID #: 1809



                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION

BANK OF AMERICA, N.A.,                          )
                                                )
                Plaintiff,                      )
v.                                              )       Case No.: 4:10-cv-00563-RWS
                                                )
ANALYTICS, INC., et al.,                        )
                                                )
                Defendants.                     )


                                       REPORT OF RECEIVER

        COMES NOW Morris-Anderson & Associates, Ltd. (the “Receiver”), the duly-appointed

Receiver in this matter, by and through its undersigned counsel, and hereby submits its fifth quarterly

report for the above-captioned receivership.

        During the quarter beginning April 1, 2011 and ending June 30, 2011 the Receiver worked

diligently to obtain the items necessary to have the $800,000 being held in escrow pursuant to the terms

of an escrow agreement between the Receiver and EAG, Inc. (“EAG”) released to the Receiver. The

Receiver has provided EAG with all tax clearance certificates, tax returns and other documentation it

believes are required under the terms of the escrow agreement and the asset purchase agreement as

amended, with the exception of a conditional tax clearance from the State of Michigan for CAS-MI

Laboratories, LLC (the “Michigan Tax Clearance”). The Receiver is continuing to work with the Tax

Clearance Section of the Michigan Department of Treasury to resolve the remaining issues related to the

Michigan Tax Clearance, and the Receiver anticipates that all such issues will be resolved within two to

three months. All attempts by the Receiver through counsel to expedite this process have been

unsuccessful to date but we believe that the State of Michigan should now have virtually all of the

information necessary to issue the requested tax clearance. The Receiver is in regular contact with

representatives of EAG providing updates on the progress of securing the additional tax clearance

documentation as the information develops. As soon as these remaining issues are resolved, the full

amount of the funds being held in escrow should be released to the Receiver.

                                                    1
Case: 4:10-cv-00563-RWS Doc. #: 156 Filed: 08/17/11 Page: 2 of 4 PageID #: 1810



        The Receiver has also been engaged in winding down the receivership generally, including

shutting down the old Analytics 401(k) plan and preparing 2010 federal and state income tax returns. The

Receiver has encountered numerous logistical roadblocks in winding down the 401(k) due, in large part,

to access to necessary data. Because the Analytics 401(k) encompassed employees of Azopharma and

other entities not part of the Receivership, access to accurate and complete payroll data has been

extremely difficult to secure. The first step in closing down a 401(k) is an accurate and complete census

of all plan participants necessitating access to complete and accurate payroll records. That issue was

largely resolved in late July when the required data was provided by Azopharma’s previous payroll

service provider and the process is back on track for an orderly wind down. All applicable 2010 income

tax returns have been prepared in draft form and are currently under valid extensions of time to file until

September 15, 2011, and the Receiver expects that all returns will be timely filed as they become due.

        Once the funds are released from escrow and all other aspects of the wind down of the

receivership are complete, the Receiver anticipates that it will have funds sufficient to make distributions

to the parties and in the approximate amounts set forth on Exhibit A attached hereto and incorporated by

reference herein. Plaintiff Bank of America, N.A. is still working internally and with the Receiver to

determine the amounts owed to it by the Defendants, so the distributions are estimated based on the

amount the Receiver believes is currently due and owing to Bank of America. The distribution amounts

set forth on Exhibit A are subject to change based on adjustments in the distribution to be made to Bank

of America and on the occurrence of unforeseen circumstances.




                                                     2
Case: 4:10-cv-00563-RWS Doc. #: 156 Filed: 08/17/11 Page: 3 of 4 PageID #: 1811



Dated: August 17, 2011                                Respectfully submitted,

                                                      THOMPSON COBURN LLP



                                                      By: /s/ David A. Warfield
                                                             David A. Warfield, ED Mo. #34288MO
                                                             Allison E. Graves, ED Mo. #60748MO
                                                             One US Bank Plaza
                                                             St. Louis, MO 63101
                                                             (314) 552-6000
                                                             Fax (314) 552-7000
                                                             dwarfield@thompsoncoburn.com
                                                             agraves@thompsoncoburn.com

                                                      Attorneys for Receiver Morris-Anderson &
                                                      Associates, Ltd.


                                  CERTIFICATE OF SERVICE

         I hereby certify that on August 17, 2011 the foregoing was served upon all parties receiving
notice through the Court’s CM/ECF system.


                                              /s/ David A. Warfield




                                                 3
                                    Case: 4:10-cv-00563-RWS Doc. #: 156 Filed: 08/17/11 Page: 4 of 4 PageID #: 1812


                                                                                                          EXHIBIT A

 Analytics Inc.
Distribution Analytis of Waterfall Forecast of Outstanding Claims on Receivership Estate
As of August 1, 2011
($ thousands)

    Activity to Date:                                                                                                 Estimated Remaining Distributions:
     Beginning Cash Balance (April 1, 2011)                     $            3,433                                     Current Balance (as of August 1, 2011)                    $      1,906
     Plus                                                                                                              Plus
           Receipts (vendor refunds, etc.)                                      37                                          Escrow Funds6                                                 800
                                                                             3,470                                                                                                      2,706
      Minus                                                                                                            Minus
      Wind-down Costs (actual)                                                                                         Remaining Wind-down Costs (est.)
          MorrisAnderson Investment Banking Fee                                                    631                     Retention Bonus (Compensation)                                            135
          Accounts Payable3                                                                        391                     401(k) Shut-down                                                           30
          Accrued Bonus (Compensation)                                                             253                     Professional Fees5                                                        118
          Accrued PTO (Compensation)                                                                 74                    Other Close-down and Contingency Costs7                                   100
          Accrued Expenses                                                                           35                                                                                              383
          Customer pre-payments                                                                    -                   Remaining Senior Lender Debt (est.)
          HRA Claims4                                                                                29                   Loan Principal (paid)8                                                      -
          Section 125 Plan4                                                                           9                   Interest on Principal (as of 8/15/2011)                                   1,919
          Taxes (incl. State, Penalties, etc.)4                                                      11                     Legal & Professional (as of 8/15/2011)                                   334
           Professional Fees5                                                                      131                                                                                              2,253
                                                                                                 1,564
                                                                                                                       Estimated Balance after Priority Distributions                           $     70
      Current Balance (as of August 1, 2011)                                         $           1,906
                                                                                                                       Funds Remaining for Creditors, Taxing Authorities, etc.                  $     70


    Notes:
    1) Recovery assumes that all costs are made and the priortization of distributions. May require opinion of counsel and approval of judge before final distributions will be made.
    2) Wind-down costs include expenses of the administration.
    3) Post Receivership payables only; does not include pre-receivership payables.
    4) Includes several tax payments made to satisfy buyer of receivership tax claims.
    5) Professional Fees include MorrisAnderson (receiver), ThompsonCoburn (legal) and SFW (audit).
    6) Assumes full recovery of funds placed into escrow.
    7) Includes employee W2s and other events not anticipated.
    8) Principal loan balance was paid in-full post-transaction closing.




1                                                                                                                                                                                                   8/17/2011
